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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FOR LAUDERDALE DIVISION

                                   Case No.: 0:16-cv-61728-WJZ

  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff

  v.

  BEST BUY CO., INC.,
  BESTBUY.COM, LLC, and
  BEST BUY STORES, L.P.,

         Defendants.

                                  JOINT MOTION TO DISMISS

         WHEREAS, Plaintiff Symbology Innovations, LLC (“Plaintiff”) and Defendants Best

  Buy Co., Inc., BestBuy.com, LLC, and Best Buy Stores, L.P. (“Best Buy Defendants”) have

  resolved Plaintiff’s claims for relief against Best Buy Defendants asserted in this case.

         NOW, THEREFORE, Plaintiff and the Best Buy Defendants, through their attorneys of

  record, request this Court to dismiss Plaintiff’s claims for relief against Best Buy Defendants

  with prejudice, and with all attorneys’ fees, costs of court and expenses borne by the party

  incurring same.




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  Dated August 24, 2016              Respectfully submitted,


  /s/ Joel B. Rothman                        /s/ Michael R. Whitt
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  ATTORNEYS FOR PLAINTIFF
  SYMBOLOGY INNOVATIONS, LLC                 ATTORNEYS FOR DEFENDANTS BEST
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                                             AND BEST BUY STORES, L.P.




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